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 4   Attorneys for Defendant
     CHI KEUNG HUI
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 9                      IN THE DISTRICT COURT OF THE UNITED STATES

10                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                     SACRAMENTO DIVISION

12

13   UNITED STATES OF AMERICA,                          No. 2:08-CR-00064

14                   Plaintiff,                         AMENDED STIPULATION AND
                                                        PROPOSED ORDER TO CONTINUE
15   vs.                                                STATUS CONFERENCE

16   CHI KEUNG HUI,

17                   Defendant.

18                                          /

19         It is hereby stipulated by and between the parties of record that the status

20   conference in the above-referenced matter should be continued from March 17, 2011 to

21   May 19, 2011 at 9:00 a.m. It is further stipulated that there is good cause for said

22   continuance to accommodate conflicts arising from counsels’ personal and trial

23   schedules and for continuity of counsel pursuant to 18 U.S.C.§ 3161 (h)(7)(A) and

24   (B)(iv), Local Codes T-2 and T -4.

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      Case 2:08-cr-00064-MCE Document 108 Filed 03/24/11 Page 2 of 2


 1   Dated: March 16, 2011

 2

 3                                                    /s/
                                              TED W. CASSMAN,
 4                                            Attorney for Defendant
                                              CHI KEUNG HUI
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 6
     Dated: March 16, 2011
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                                                        /s/
 9                                            MICHAEL BECKWITH,
                                              Assistant United States Attorney
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12                                            ORDER

13     For the reasons stated above, the status conference in this matter, currently set for

14   March 17, 2011, is continued to May 19,2011; and the time beginning, March 17, 2011,

15   and extending through May 19,2011, is excluded from the calculation of time under the

16   Speedy Trial Act for effective defense preparation. The Court finds that interests of

17   justice served by granting this continuance outweigh the best interests of the public and

18   the defendants in a speedy trial. 18 U.S.C.§ 3161 (h)(7)(A) and (B)(iv), Local Codes T-

19   2 and T -4.

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      Dated: March 23, 2011
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                                               MORRISON C. ENGLAND, JR.
23                                             UNITED STATES DISTRICT JUDGE

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